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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    MIDDLE DIVISION

     MARK DUKE, et al.,                            )
                                                   )
           Plaintiffs,                             )
                                                   )
     v.                                            )   Case No. 4:14-cv-01952-RDP
                                                   )
     JOHN HAMM, et al.,                            )
                                                   )
           Defendants.                             )

                            MEMORANDUM OPINION AND ORDER

          This matter is before the court on (1) The ADOC Officials’ Consolidated Rule 702 Motion

to Exclude Testimony from Plaintiffs’ Purported Experts Pacholke, Bonner, Miller, Martin, and

Austin (Doc. # 419), and (2) Plaintiffs’ Motion to Exclude In Full Or In Part Defendants’ Experts

Sean Stewart, Jeff Kingsfield, Rodney Miller, Kathlene Lane, Robert Carter and Mary Ila Ward

(Doc. # 421). The Motions have been fully briefed. (Docs. # 479, 481, 498, 511).

I.        Background

          On May 10, 2024, Plaintiffs filed a Motion for Class Certification (Doc. # 417), and the

Defendant ADOC Officials filed a Motion for Summary Judgment (Doc. # 418). Along with these

Motions, the parties filed the pending Motions to Exclude each others’ experts’ testimony. (Docs.

# 419, 421).

          In reviewing the Motions to Exclude, the court determined that a summary of the

challenged expert testimony relied on in the pending Motion for Class Certification and Motion

for Summary Judgment would be helpful. Therefore, the court ordered the parties to file a summary

of the challenged opinions on which their Motions relied. (Doc. # 527). On December 18, 2024,

the parties filed their summaries. (Docs. # 528, 529). In these summaries, Plaintiffs and Defendants
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have both taken the position that the court need not resolve the Motions to Exclude in order to

decide the other pending motions. (Doc. # 528 at 2 (“the [c]ourt may grant summary judgment

and/or deny class certification without reference to any challenged expert opinions.”); Doc # 529

at 3 (“the [c]ourt need not resolve Defendants’ Daubert motion in order to decide the pending class

certification and summary judgment motions”)).

II.    Applicable Law

       The following legal standards govern a court’s analysis of motions to exclude expert

testimony.

       A.      Daubert and Rule 702

       The decision to admit or exclude expert testimony is within the trial court’s discretion and

the court understands it enjoys “considerable leeway” when determining the admissibility of this

testimony. See Cook v. Sheriff of Monroe County, Fla., 402 F.3d 1092, 1103 (11th Cir. 2005). The

admissibility of expert testimony is governed by Federal Rule of Evidence 702, as viewed through

the lens of the Supreme Court’s Daubert decision and its progeny interpreting that rule. Daubert

v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

       Rule 702 provides for the admission of expert testimony when “scientific, technical, or

other specialized knowledge will help the trier of fact.” In Daubert, the Supreme Court held that

scientific expert testimony is admissible only if the proffered testimony is both relevant and

reliable. 509 U.S. at 597. Under Daubert, a district court judge is to act as a “gatekeeper” for expert

testimony, and only admits such testimony after receiving satisfactory evidence of its reliability.

Dhillon v. Crown Controls Corp., 269 F.3d 865, 869 (7th Cir. 2001). See also United States v.

Majors, 196 F.3d 1206, 1215 (11th Cir. 1999). Whether a Daubert hearing is necessary in any




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particular case is a decision committed to the trial court’s sound discretion. Cook v. Sheriff of

Monroe Cty., Fla., 402 F.3d 1092, 1113 (11th Cir. 2005).

III.     Analysis

         First, the parties have agreed that, although they cited expert testimony in their Motion for

Class Certification and Motion for Summary Judgment that is now subject to motions to exclude,

the court need not rely on that expert testimony to decide those motions. (Docs. # 528 at 2, # 529

at 3).

         Second, because any eventual trial in this case will be a bench trial, the trier of fact in this

case will be the court. Thus, “the considerations of ensuring only reliable and relevant expert

testimony be given to the trier of fact are less concerning.” Scilex Pharms. Inc. v. Aveva Drug

Delivery Sys., Inc., 2024 WL 2834399, at *2 (S.D. Fla. May 15, 2024) (citing United States v.

Brown, 415 F.3d 1257, 1269 (11th Cir. 2005)); see also Gibbs v. Gibbs, 210 F.3d 491, 500 (5th

Cir. 2000). The purpose of Daubert motions is for the court to exercise a gatekeeping function and

that “gatekeeping function’s core use is to keep junk science away from the jury.” United States v.

Ware, 69 F.4th 830, 847 (11th Cir. 2023) (emphasis added). “There is less need for the gatekeeper

to keep the gate when the gatekeeper is keeping the gate only for himself.” Brown, 415 F.3d at

1269).

         Thus, “[w]here a trial judge conducts a bench trial, the judge need not conduct a Daubert

(or Rule 702) analysis before presentation of the evidence, even though he must determine

admissibility at some point.” Travelers Prop. Cas. Co. of Am. v. Barkley, 2017 WL 4867012, at

*1 (S.D. Fla. June 2, 2017) (quoting Kan. City S. Ry. Co. v. Sny Island Levee Drainage Dist., 831

F.3d 892, 900 (7th Cir. 2016)); see also City of S. Miami v. Desantis, 2020 WL 7074644, at *7

(S.D. Fla. Dec. 3, 2020) (quoting same); United States v. Wood, 741 F.3d 417, 425 (4th Cir. 2013)



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(“[B]ecause the district court was also the trier of facts, the district court’s evidentiary gatekeeping

function was relaxed, and the district court was in the best position to decide the proper weight to

give the expert opinions.”); In re Salem, 465 F.3d 767, 777 (7th Cir. 2006) (“[W]here the factfinder

and the gatekeeper are the same, the court does not err in admitting the evidence subject to the

ability later to exclude it or disregard it if it turns out not to meet the standard of reliability

established by Rule 702”); Braggs v. Dunn, 2017 WL2984312 *3 (M.D. Ala. Jul. 13, 2017) (“[T]he

Daubert barriers to admissibility are more relaxed in a bench trial, where the judge is serving as

factfinder, and the court need not be concerned about dumping a barrage of questionable scientific

evidence on a jury.” (quoting Brown, 415 F.3d at 1268) (internal quotations and citation omitted).

IV.     Conclusion

        Because (1) the parties agree that the court need not resolve the Motions to Exclude to

address the pending Motion for Class Certification and Motion for Summary Judgment as the

challenged expert testimony is unnecessary to their Motions, and (2) this case, if tried, would be

tried to the bench, which means there is less need for the gatekeeper to keep the gate, it is

ORDERED as follows:

        1. The ADOC Officials’ Consolidated Rule 702 Motion to Exclude Testimony from

            Plaintiffs’ Purported Experts Pacholke, Bonner, Miller, Martin, and Austin (Doc. #

            419) is DENIED.

        2. Plaintiffs’ Motion to Exclude In Full Or In Part Defendants’ Experts Sean Stewart, Jeff

            Kingsfield, Rodney Miller, Kathlene Lane, Robert Carter and Mary Ila Ward (Doc. #

            421) is DENIED.




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3. Although the court will conduct any necessary Rule 702 analysis at trial, it also

   understands that generally the proper remedy for any potential weaknesses in the

   experts’ opinions or testimony is confrontation and vigorous cross-examination.

DONE and ORDERED this January 24, 2025.



                                    _________________________________
                                    R. DAVID PROCTOR
                                    CHIEF U.S. DISTRICT JUDGE




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